Case 3:20-cv-00186-ARS Document 3-2 Filed 10/13/20 Page 1 of 1

CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

JS 44 (Rev. 12/12)

 

I. (a) PLAINTIFFS Prochnoawd Branden ID

(b) County of Residence of First Listed Plaintiff

Cass

(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attorneys (Firm Name, Address, and Telephone Number)

NoNe

NOTE:

Attorneys (/f Known)

 

County of Residence of First Listed Defendant

DEFENDANTS Wo} peor 02 I) <e department

Richland

(IN U.S. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

 

Il. BASIS OF JURISDICTION (Place an “X” in One Box Only)

O 1 U.S. Government

Plaintiff

tha U.S. Government

Defendant

IV. NATURE OF SUIT

C13 Federal Question

(U.S. Government Not a Party)

O04 Diversity

(indicate Citizenship of Parties in Item Hl)

 

(Place an “X" in One Box Only)

(Por Diversity Cases Only)

Citizen of This State

Citizen of Another State a

Citizen or Subject ofa a

Foreiun Country

PTF
1

IIL. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff

and One Box for Defendant}

DEF PTF DEF
© 1 Incorporated or Principal Place ao4 o4
of Business In This State
2 © 2 Incorporated and Principal Place ao5 a5
of Business In Another State
3. O 3 Foreign Nation go6 O86

 

 

= CONTRACT... os

_ TORTS”

FORTEITURE/PENALTY

“BANKRUPTCY.

"OTHER STATUTES]

 

PERSONAL INJURY

 

 

 

 

G 110 Insurance PERSONAL INJURY [0 625 Drug Related Seizure G 422 Appeal 28 USC 158
[20 Marine CO 310 Airplane © 365 Personal Injury - of Property 21 USC 881 }O 423 Withdrawal
GF 130 Miller Act G 315 Airplane Product Product Liability OF 690 Other 28 USC 157
(40 Negotiable Instrument Liability O 367 Health Care/
€] 150 Recovery of Overpayment 320 Assault, Libel & Pharmaceutical PROPERTY.RIGHTS **-

& Enforcement of Judgment Slander Personal Injury G 820 Copyrights
OG 151 Medicare Act 6 330 Federal Employers’ Product Liability G 830 Patent
0 152 Recovery of Defaulted Liability CO) 368 Asbestos Personal OG 840 Trademark

Student Loans © 340 Marine Injury Product

(Excludes Veterans) (I 345 Marine Product Liability LABOR. --SOCIAL'‘SECURITY: +.
(1 153 Recovery of Overpayment Liability PERSONAL PROPERTY [QO 710 Fair Labor Standards CO 861 HIA (13958)

of Veteran’s Benefits © 350 Motor Vehicle GO 370 Other Fraud Act O 862 Black Lung (923)
CG 160 Stockholders’ Suits G 355 Motor Vehicle © 371 Truth in Lending 0 720 Labor/Management OC 863 DIWC/DIWW (405(g))
CF 190 Other Contract Product Liability O 380 Other Personal Relations C1 864 SSID Title XVI
G 195 Contract Product Liability | 360 Other Personal Property Damaye OG 740 Railway Labor Act O 865 RSI (405(g))
G 196 Franchise Injury © 385 Property Damage 0 751 Family and Medical

G 362 Personal Injury - Product Liability Leave Act
Medical Malpractice C790 Other Labor Litigation

[_.-SREAL PROPERTY. ‘cf. °-CIV'G RIGHTS ...”._._ | PRISONER-PETITIONS « |O 791 Employee Retirement FEDERAE-TAX:SUITS:<: -

 

OG 210 Land Condemnation

CF 220 Foreclosure

C3 230 Rent Lease & Ejectment
OF 240 Torts to Land

OF 245 Tort Product Liability
1 290 All Other Real Property

 

O 440 Other Civil Rights

441 Voting

OC 442 Employment

G 443 Housing/
Accommodations

O 445 Amer. w/Disabilities -
Employment

© 446 Amer. w/Disabilities -
Other

0 448 Education

 

Habeas Corpus:
O 463 Alien Detaince
© 510 Motions to Vacate
Sentence
OC 530 General
O 535 Death Penalty
Other:
© 540 Mandamus & Other
G 550 Civil Rights
© 555 Prison Condition
(1 560 Civil Detainee -
Conditions of
Confinement

Income Security Act

 

 

 

IMMIGRATION

 

 

G 462 Naturalization Application
0 465 Other Immigration
Actions

 

GO 870 Taxes (U.S. Plaintiff
or Defendant)

CO 871 IRS—Third Party
26 USC 7609

 

OQ n0g00 A200 NOnnROO0

375 False Claims Act

400 State Reapportionment

410 Antitrust

430 Banks and Banking

450 Commerce

460 Deportation

470 Racketeer Influcnced and
Cormpt Organizations

480 Consumer Credit

490 Cable/Sat TV

850 Securities/Commodities/
Exchange

890 Other Statutory Actions

891 Agricultural Acts

893 Environmental Matters

895 Freedom of Information
Act

896 Arbitration

899 Administrative Procedure
Act/Review or Appeal of
Agency Decision

950 Constitutionality of
State Statutes

 

V. ORIGIN (Place an “xX” in One Box Only)

CG 3° Remanded from

a4

Reinstated or

0 5 Transferred from

O 6 Multidistrict

281 Original 12 Removed from

 

Proceeding State Court Appellate Court Reopened Another District Litigation
(specify
Cite the U.S. Civil Statute under which you are filing (Do nat cite jurisdictional statutes unless diversity):

ao
Brief description of cause:

VI. CAUSE OF ACTION -
Ome On news and accuSed of Somtning Tt did not do.

 

 

 

 

 

Got

VII REQUESTED IN CO) CHECK IF THIS IS A CLASS ACTION DEMAND $ “CHECK YES only if demanded in complaint:

COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: es (No
VII RELATEDCASE(S)

IF ANY (See instructions): JUDGE Brad lo a A. C cof DOCKET NUMBER 3 a) -_ AOR oO - C R-ool§
DATE SIGNATURE OF ATTORNEY OF RECORD

G-2\-20 Denton Cote

FOR OFFICE USE ONLY

 

RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE
